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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                       Plaintiff,                   Case No. 1:22-cv-329-BLW

 v.                                                 NOTICE OF FACTUAL
                                                    CLARIFICATION
 THE STATE OF IDAHO,

                       Defendant.



       The United States respectfully submits this Notice of Factual Clarification, and the

accompanying Second Supplemental Declaration of Dr. Lee A. Fleisher, M.D., to avoid any ambiguity
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in the factual record presently before this Court. The United States also submits, however, that this

factual clarification is not material to the issues before the Court.

        Earlier in this case, Dr. Fleisher submitted a declaration that, among other things, reported the

number of claims that were made to Medicaid and the Children’s Health Insurance Program (CHIP)

for ectopic pregnancies within the State of Idaho for the years 2018 through 2021. See Dkt. No. 17-

3, ¶ 36. Those numbers were 98 for 2018; 72 for 2019; 103 for 2020; and 108 for 2021. Id.

        As explained in more detail in Dr. Fleisher’s accompanying declaration, upon further

examination of this data, HHS determined that those numbers were accurate with respect to claims

submitted, but did not reflect the actual number of individual ectopic pregnancies, because sometimes

a single ectopic pregnancy can involve multiple claims from different providers involved in rendering

care (e.g., one claim from the hospital, and a separate claim from the physician performing the

procedure). HHS has now de-duplicated the numbers, to identify the actual number of ectopic

pregnancies in each year (as opposed to the number of claims associated with those ectopic

pregnancies). Based on the de-duplicated data, HHS reports that the number of discrete ectopic

pregnancies reflected in Medicaid/CHIP claims data are as follows: 66 in 2018; 48 in 2019; 76 in 2020;

and 73 in 2021. See 2d Suppl. Fleisher Decl. ¶¶ 2-4.

        The United States does not believe that this minor change in numbers is material to any of the

past proceedings in this case, or to any of the issues currently before the Court. The United States

wishes to ensure that the factual record in this case is as precise as possible, however, and therefore

submits this Notice and accompanying declaration for purposes of avoiding any potential ambiguity

associated with the previously submitted information.




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Dated: September 15, 2022                      Respectfully submitted,

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